Case 3:17-cv-00621-KAD Document 1-8 Filed 04/13/17 Page 1 of 6




                  EXHIBIT E
                    Part 1
              Case 3:17-cv-00621-KAD Document 1-8 Filed 04/13/17 Page 2 of 6


      The                                                                               Post Office Box 2000
Rawlinp Company LLC                                                           LaGrange, Kentucky 40031-2000
Subrogation Division
                                                                                          One Eden Parkway
                                                                              LaGrange, Kentucky 40031-8100




                                            August 26, 2016

Ms. Leslie Spagnoli
BIG Y FOODS INC
PO BOX 7840
SPRINGFIELD, MA 01102

Re:         Our Client:         Aetna
            Member/Patient:    NELLINA    GUERRERA/NELLINA GUERRERA
            Date of Loss:       02/20/2015
            Our Reference No.: 68528002


Dear Ms. Spagnoli:

        As you may know, the Center for Medicare and Medicaid Services ("CMS"), the agency charged
with administering Medicare and Medicaid, released a 2011 Position Memorandum commenting upon
the recovery rights of Medicare Advantage health plans. In regards to the above-referenced incident,
NELLINA GUERRERA was provided medical benefits from such a plan. Enclosed is a Memorandum
from our legal department discussing CMS's position and court cases that have addressed Medicare
Advantage health plan recovery rights. It is important that you, your client and/or insured, and the other
parties involved in this matter understand the position of CMS and The Rawlings Company LLC as
early as possible. Please contact me if you have any questions, and I look forward to working with you
to resolve this case.




                                      Kevin E. James J.D.
                                      Subrogation Analyst
                                      (502) 716-6980
                                      FAX: (502) 565-1586
           Case 3:17-cv-00621-KAD Document 1-8 Filed 04/13/17 Page 3 of 6




                                         kejl@rawlingseompany.com




                                                 MEMORANDUM


FROM:          The Rawlings Company, LLC


DATE:           August 2016


RE:             Recovery Rights of Medicare Advantage Organizations


The purpose of this document is to communicate the position of The Rawlings Company, LLC, after consultation
with legal counsel, regarding the subrogation and reimbursement rights of Medicare Advantage organizations
("MAOs") under the Medicare Secondary Payer Act ("MSP Act"). As outlined in more detail below, the majority
of courts that have reviewed this issue have held that (1) state laws limiting subrogation and reimbursement
rights of MAOs are preempted under the Medicare Act, and (2) MAO's recovery rights under the MSP Act are
identical to the recovery rights of traditional Medicare, including specifically the ability to pursue subrogation
and reimbursement rights through a private cause of action.


1.      Preemption:


42 U.S.C. § 1395w-26(b)(3)


Medicare Part C contains an express preemption provision: "[t]he standards established under [Part C] shall
supersede any State law or regulation . . . with respect to MA plans which are offered by MA organizations
under this part." See also 42 C.F.R. § 422.108(f).


Meek-Horton v. Troyer Solutions, Inc., 910 F. Supp. 2d 690 (S.D.N.Y. 2012)


This matter involved a class action lawsuit against 40 Medicare Advantage plans alleging various violations of
New York law by seeking and obtaining reimbursement out of the proceeds of settlements. Following Potts v.
The Rawlings Co., LLC, the U.S. District Court for the Southern District of New York granted the defendants'
motion to dismiss after determining that the basis of plaintiffs' claims—New York's anti-subrogation statute—
was "expressly preempted by the 'plain wording' of federal law [42 U.S.C. § 1395w-26(b)(3), and 42 C.F.R. §
422.108(f)]", and dismissed the case. Id. at 696.


Potts v. Rawlings Co., LLC, 897 F. Supp. 2d 185 (S.D.N.Y. 2012)


Three months prior to Meek-Horton, the U.S. District Court for the Southern District of New York held that New
York's anti-subrogation statute (GOL § 5-335) was preempted by the Medicare Act: "to whatever extent the New
York statute applies to Medicare or MA organizations, it is expressly preempted by the Medicare Act." Id. at 196.
In reaching its conclusion, the court held that applicable statutory and regulatory preemption, exhaustion of
remedies, and reimbursement provisions apply equally to traditional Medicare and MAOs. The court also
distinguished the issue of whether a MAO has a private cause of action from the issue of preemption of state
law: "given the broad express preemption clause in the Medicare Act, whether there is a private right of action
             Case 3:17-cv-00621-KAD Document 1-8 Filed 04/13/17 Page 4 of 6




for MA organizations is immaterial to the question whether GOL § 5-335 is preempted." Id.

Trezza v. Trezza, 104 A.D.3d 37 (N.Y. App. Div. 2d Dep't 2012)

The New York Supreme Court, Appellate Division, held that New York's anti-subrogation statute, as applied to
MAOs, was preempted by federal law because it restricted reimbursement rights provided by the Medicare Act
and applicable regulations. In reversing the trial court's order extinguishing a MAO's reimbursement claim, the
appellate court held that the express preemption provisions in 42 USC 1395w-26(b)(3) and as explained in 42
CFR 422.108(f), prohibited a state from limiting MAOs' ability to obtain reimbursement under the MSP Act.


2.      Private Cause of Action:

In re Avandia Mktg., 685 F.3d 353 (3d Cir. 2012)

In Avandia, the U.S. Court of Appeals for the Third Circuit held that 42 U.S.C. § 1395y(b)(3)(A) provides MAOs
with "a private cause of action for damages . . . placing no limitations upon which private (i.e., non-
governmental) actors can bring suit for double damages when a primary payer plan fails to appropriately
reimburse" the MAO. Id. at 359. The Third Circuit further held that even if 42 U.S.C. § 1395y(b)(3)(A) were
deemed ambiguous in this regard, courts must to defer to CMS regulations—specifically 42 C.F.R. § 108—which
states: "The MA organization will exercise the same rights to recover from a primary plan, entity, or individual
that the Secretary exercises under the MSP regulations in subparts B through D or part 411 of this chapter." Id.
at 365-66.

In addition to relying on statutory analysis and the CMS-issued regulations, the Third Circuit also used a
December 5, 2011 memorandum issued by CMS—the federal agency that administers Medicare—to support its
holding. The CMS memorandum reiterated that MAOs exercise the same recovery rights as tra ditional Medicare
under the MSP Act, including preemption of state law under 42 C.F.R. § 422.108, and the ability to file a private
cause of action in federal court.

Avandia is the first court of appeals decision to specifically analyze a MAO's recovery rights under the Medicare
Secondary Payer Act, 42 U.S.C. § 1395y(b)(2). The Third Circuit distinguished prior cases—including Care Choices
HMO v. Engstrom, and Nott v. Aetna—as those cases did not address the issue of whether a MAO could bring
suit under the MSP private cause of action provision. Id. at 362.

In sum, pursuant to the Avandia decision, MAOs' recovery rights under the MSP Act are identical to the recovery
rights of Medicare. Practically speaking, that means MAOs can pursue a claim directly against any source of
benefits defined as primary under the statutes and regulations, even if it has already reimbursed the beneficiary.
See 42 U.S.C. § 1395w-22(a)(4); 42 C.F.R. § 422.108(f). Additionally, by virtue of exercising the same rights to
recover from a primary plan, entity, or individual that Medicare exercises under the MSP regulations, MAOs
have a direct cause of action against any entity who made payment and any beneficiary or attorney who
received payment and failed to reimburse the plan. See 42 C.F.R. § 411.24(g).

Mich. Spine & Brain Surgeons, PLLC v. State Farm Mut. Auto. Ins. Co., 758 F.3d 787 (6th Cir. 2014)

The U.S. Court of Appeals for the Sixth Circuit held that a provider could pursue a private cause of action under
the Medicare Secondary Payer Act against an automobile no-fault carrier. Although this case involved a
provider, the holding would justify a similar cause of action by a MAO, should a primary payer—whether it be a
no-fault or liability carrier—refuse to reimburse the plan.
           Case 3:17-cv-00621-KAD Document 1-8 Filed 04/13/17 Page 5 of 6




Humana Medical Plan, Inc. v. W. Heritage Ins. Co., Case No. 15-11436, 2016 U.S. App. LEXIS 14509 (11 th Cir.
Aug. 8, 2016)

The U.S. Court of Appeals for the 11th Circuit followed the 3rd Circuit in Avandia and held that a Medicare
Advantage Organization had private cause of action to sue a primary payer third party carrier under the
Medicare Secondary Payer Act, 42 U.S.C. § 1395y(b)(3)(A). The court held the Medicare Advantage plan's rights
under the MSP Act included a mandatory right to claim double damages. The Court gave Chevron deference to
CMS regulation 42 C.F.R. § 411.24(i)(1) which requires a primary payer like the tortfeasor's carrier in the present
case to "reimburse Medicare even though it has already reimbursed the beneficiary or othe r party" if such
beneficiary or party fails to reimburse Medicare within 60 days of receiving a primary payment from a carrier.

Collins v. Wellcare Healthcare Plans, Inc., 2014 U.S. Dist. LEXIS 174420 (E.D. La. Dec. 16, 2014)

In Collins, the plaintiff received medical benefits from a MAO after being involved in an automobile accident.
She obtained a settlement from the tortfeasor, which she deposited into a trust account, and then filed a
declaratory judgment action in state court against the MAO, arguing that the MAO was not entitled to
subrogation or reimbursement. The MAO removed the case to the U.S. District Court for the Eastern District of
Louisiana, and filed a counterclaim against the plaintiff seeking to recover the benefits it incurred out of the
plaintiff's settlement with the tortfeasor.

The district court dismissed the plaintiff's declaratory judgment action for lack of subject matter jurisdiction, as
it inherently demanded an interpretation of the Medicare Act, even though it was fashioned as a state law claim.
Claims that arise under the Medicare Act must exhaust their administrative remedies prior to judicial review
under 42 U.S.C. § 405(h). Id. at *17.

The district court then granted the MAO's counterclaim, in part. Citing to Avandia and the CMS regulations in
support, it held that an MAO could pursue a private cause of action in federal court against the plaintiff to
obtain reimbursement out of the proceeds of her settlement under 42 U.S.C. § 1395y(b)(3)(A) ("There is
established a private cause of action for damages. . .in the case of a primary plan which fails to provide for
primary payment ...."). Id. at *30. The court reasoned there was "no real distinction between a claim against a
tortfeasor or his insurer to obtain reimbursement and a claim against a beneficiary to obtain reimbursement
from a settlement funded by a tortfeasor or his insurer" for the purposes of a MAO's cause of action under 42
U.S.C. § 1395y(b)(3)(A). Id. at *31.

Humana Ins. Co. v. Farmers Tex. County Mut. Ins. Co., 2014 U.S. Dist. LEXIS 166654 (W.D. Tex. Sept. 24, 2014)

In this matter, Humana — the MAO — made conditional payments to several enrollees who were injured as a
result of an automobile accident. Each individual also had an automobile insurance policy with Farmers, who
the MAO argued was the primary payer. Farmers refused the MAO's request for reimbursement, and the MAO
filed suit in the U.S. District Court for the Western District of Texas. In response, Farmers filed a motion to
dismiss, arguing that a MAO did not have a private cause of action under the MSP Act. The district court agreed
with the Third Circuit's analysis in Avandia, and denied Farmer's motion to dismiss, finding that "any private
plaintiff with standing may bring an action [under 42 U.S.C. 1395(b)(3)(A)]." Id. at *4.

Humana Ins. Co. v. Paris Blank, LLP, 2015 U.S. Dist. LEXIS 61814 (E.D. Va. May 10, 2016)

Addressing MAO recovery rights for the first time in the 4th Circuit, the U.S. District Court for the Eastern District
           Case 3:17-cv-00621-KAD Document 1-8 Filed 04/13/17 Page 6 of 6




of Virginia held MAOs have a private cause of action under the MSP statute. The Court adopted the reasoning of
the 3rd Circuit in Avandia. The MSP statute is "broad and unambiguous" and places "no limitations upon which
private (i.e., non-governmental) actors can bring suit for double damages when a primary plan fails to
appropriately reimburse any secondary payer." Like in Avandia, the Court held that even if the statute had been
construed to be ambiguous, the CMS regulations reiterating these rights would be given Chevron deference.
Again relying on Avandia's reasoning, the Court went on to hold that the MSP private cause of action permitted
MAOs to pursue members' attorneys and their law firms.
